                IN THE UNITED STATES DISTRICT COURT

           FOR THE MIDDLE DISTRICT OF NORTH CAROLI


UNITED STATES OF AMERICA

                 V.                              l:19CR l~7 -1

LAKHDEEP SINGH DEOL


                           The Grand Jury charges:

                                 COUNT ONE

      From on or about December 17, 2018, continuing up to and including on

or about March 6, 2019, the exact dates to the Grand Jurors unknown, in the

County of Guilford, in the Middle District of North Carolina, LAKHDEEP

SINGH DEOL, with the intent to harass and intimidate C.R., did use any

interactive computer service, electronic communication service, electronic

communication system of interstate commerce, and any other facility of

interstate commerce and foreign commerce to engage in a course of conduct

that attempted to cause and would be reasonably expected to cause substantial

emotional distress to C.R.; in violation of Title 18, United States Code, Sections

2261A(2)(b) and 2261(b).

                                 COUNT TWO

      From on or about December 17, 2018, continuing up to and including on

or about March 6, 2019, the exact dates to the Grand Jurors unknown, in the




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County of Guilford, in the Middle District of North Carolina, LAKHDEEP

SINGH DEOL, with the intent to harass and intimidate M.C., did use any

interactive computer service, electronic communication service, electronic

communication system of interstate commerce, and any other facility of

interstate commerce and foreign commerce to engage in a course of conduct

that attempted to cause and would be reasonably expected to cause substantial

emotional distress to M.C.; in violation of Title 18, U nited States Code,

Sections 2261A(2)(b) and 2261(b).

                               COUNT THREE

      On or about February 6, 2019, in the County of Guilford, in the Middle

District of North Carolina, LAKHDEEP SINGH DEOL, did transmit in

interstate and foreign commerce any communication containing any threat to

injure the person of another, whose initials are C.R.; in violation of Title 18,

United States Code, Section 875(c).

                                COUNT FOUR

      From on or about February 28, 2019, continuing up to and including on

or about March 11, 2019, the exact dates to the Grand Jurors unknown, in the

County of Guilford, in the Middle District of North Carolina, and elsew~ere,

LAKHDEEP SINGH DEOL, with intent to extort from a corporation, money

and other things of value, knowingly transmitted in interstate commerce from

the State of North Carolina to the State of California, any communication

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containing any threat to injure the person of another; in violation of Title 18,

United States Code, Section 875(b).

                                            DATED: March 25, 2019

                                            MATTHEW G.T. MARTIN
                                            United States Attorney




                                            Assistant United States Attorney

A TRUE BILL:



FOREPERSON




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